                            Case 19-27263-SMG                     Doc 82         Filed 06/30/21              Page 1 of 1

CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on June 30, 2021




                                                                                                  Scott M Grossman
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 19−27263−SMG
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Troy Gary Turkin
5362 Northwest 117th Avenue
Coral Springs, FL 33067

SSN: xxx−xx−8231




                                                              FINAL DECREE



The trustee, Scott N Brown, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
